                             IN THE UNITED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                         SOUTHERN DIVISION-AT CHATTANOOGA

    LAURA YARNELL, Trustee under the             )
    Trust of S. Cameron Yarnell for the          )
    children of S. Cameron Yarnell,              )
                                                 )
           Plaintiff,                            )   CIVIL DOCKET NO.: 1:09-CV-00049
                                                 )
    vs.                                          )   JUDGE COLLIER
                                                 )
    TRANSAMERICA OCCIDENTAL                      )   MAGISTRATE CARTER
    LIFE INSURANCE COMPANY,                      )
    SUNTRUST INVESTMENT                          )   JURY TRIAL DEMANDED
    SERVICES, INC..,                             )
                                                 )
           Defendants.                           )
                                                 )

                             SECOND AMENDED COMPLAINT


           Plaintiff files this Second Amended Complaint with the Defendant, Transamerica

    Occidental Life Insurance Company, not objecting, and the Defendant SunTrust

    Investment Services, Inc not having filed an Answer as follows:

           1.      S. Cameron Yarnell was insured under a life insurance policy issued by

    the Defendant, Transamerica Occidental Life Insurance Company with the beneficiary

    being the Plaintiff. The face amount of said policy was$1,000,000.00. The policy no.

    was 42074562.

           2.      The insured, S. Cameron Yarnell, died on October 3, 2007. Defendant

    Transamerica wholly and without cause refuses to pay the policy benefits to the Plaintiff.

           3.      The Defendant owes the Plaintiff $1,000,000.00 plus interest from

    October 3, 2007.




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           4.         Plaintiff alleges that the Defendant, Transamerica Occidental Life

    Insurance Company, was guilty of negligence in the hiring of agents and also in the

    training of their agents to handle business for the Defendant Transamerica.

           5.         Defendant Transamerica was guilty of negligence in failing to see to it that

    the proper procedures and “best practices” were followed in the issuance of policies and

    the servicing of policies to keep the policies from being a premium unpaid condition and

    keeping the policies from lapsing.

           6.         Plaintiff further alleges that the Defendant Transamerica did nothing to

    insure that situations such as the one that occurred in this case would not happen and that

    their policies would not get into a lapse situation. Plaintiff further alleges that if this had

    been done properly, the incontestable period would have run and this policy would have

    been in effect.

           7.         Plaintiff alleges that the Defendants, SunTrust Securities, Inc. and

    SunTrust Annuities, Inc., (now known as SunTrust Investment Services, Inc.) were the

    agents of the Defendant Transamerica Occidental Life Insurance Company. The Plaintiff

    alleges that the acts of the agents bind the principal, Transamerica. The Plaintiff would

    further show that good practice of an agent would be to set up proper procedures in cases

    such as this to assist customers in making sure that they policy did not lapse or come

    through a grace period without the premiums being paid and the Defendants failed to

    notify the owner of the policy that the policy was in its grace period and was about to

    lapse for nonpayment of premiums. The Defendants never discussed this with the

    Plaintiff nor did they notify her of the grace period or lapse condition when good practice

    would require them to do so.




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           8.      Plaintiff alleges that the Defendants, SunTrust Securities, Inc. and

    SunTrust Annuities, Inc, were guilty of negligence in failing to set up proper procedures

    to see to it that policies were not in a lapse condition, they failed to properly train their

    agents, they failed to properly have an insurance specialists on duty and in a position to

    help brokers, they failed to properly set up a checklist and procedures to assist customers

    in making sure that their policies did not lapse and they failed to do anything to prevent

    the lapsing of this policy, but carelessly, recklessly, and negligently allowed their

    Chattanooga office to proceed without an insurance specialist and to proceed without

    properly having procedures in place to assist the customer in not allowing policies to

    lapse. Plaintiff further alleges that if this had been done, the incontestable period on the

    policy would have run and that there would be no question that this policy would have

    been in effect at the time of the death of S. Cameron Yarnell on October 3, 2007.

           9.      Plaintiff alleges that all three Defendants failed to properly notify the

    owner of the policy that premiums were delinquent and failed to notify the owner of the

    policy in writing that the grace period had begun which is required by their policy.

           10.     Plaintiff further alleges that the combined negligence of all 3 Defendants

    caused or contributed to cause the lapsing of the policy and that all are liable to the

    Plaintiff in the amount of $1,000,000.00 plus interest from October 3, 2007.

           Wherefore, Plaintiff sues the Defendants for $1,000,000.00 plus interest from

    October 3, 2007 and demands a jury to try the issues when joined.




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                                                 BERKE, BERKE & BERKE


                                                 By: /s/ Marvin B. Berke
                                                    Marvin B. Berke, BPR# 1740
                                                    420 Frazier Avenue
                                                    Post Office Box 4747
                                                    Chattanooga, TN 37405
                                                    (423) 266-5171- Telephone
                                                    (423) 265-5307- Facsimile
                                                    marvin@berkeattys.com

                                                     Attorneys for Plaintiff




                               CERTIFICATE OF SERVICE

            I certify that the foregoing paper, along with copies of the documents were served
    electronically on the following on:

    D. Aaron Love, Esquire                        John E. Winters, Esquire
    Chambliss, Bahner & Stophel, P.C.             Kramer Rayson, LLP
    1000 Tallan Building                          Suite 2500 First Tennessee Plaza
    Two Union Square                              800 South Gay Street
    Chattanooga, TN 37402                         Post Office Box 629
                                                  Knoxville, TN 37901-0629

           This 12th day of October, 2009.


                                                 BERKE, BERKE & BERKE


                                                 By: /s/ Marvin B. Berke
                                                      Marvin B. Berke, BPR#1740




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